 Case 5:18-cv-13508-JEL-APP ECF No. 9, PageID.22 Filed 02/27/19 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

                                          :
Miriam Adams,                             :
                                          : Civil Action No.: 5:18-cv-13508-JEL-
                                          : APP
                    Plaintiff,            :
      v.                                  :
                                          :
Diversified Adjustment Service, Inc.,     :
                                          :
                    Defendant.            :
                                          :

          NOTICE OF WITHDRAWAL OF COMPLAINT AND
        VOLUNTARY DISMISSAL OF ACTION WITH PREJUDICE
                   PURSUANT TO RULE 41(a)

      Miriam Adams (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the

complaint and voluntarily dismisses this action, with prejudice, pursuant to Fed. R.

Civ. P. 41(a)(1)(A)(i).


Dated: February 27, 2019

                                           Respectfully submitted,

                                           By: _/s/ Sergei Lemberg      _________

                                           Sergei Lemberg, Esq.
                                           LEMBERG LAW, L.L.C.
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                        CERTIFICATE OF SERVICE

       I hereby certify that on February 27, 2019, a true and correct copy of the
foregoing Notice of Withdrawal was served electronically by the U.S. District
Court Eastern District of Michigan Electronic Document Filing System (ECF) and
that the document is available on the ECF system.

                                     By_/s/ Sergei Lemberg_________

                                          Sergei Lemberg
